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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA

SAMANTHA WILLIAMS and DAKOTA
FISHER, individually and on behalf of all
others similarly situated, and WES PIGOTT,

       Plaintiffs,                                DOCKET NO.: 1:20-cv-01501

v.
                                                  JUDGE DAVID C. JOSEPH
D’ARGENT FRANCHISING, LLC,
D’ARGENT CONSTRUCTION, LLC,
D’ARGENT COMPANIES, LLC,                          MAGISTRATE JOSEPH H. L. PEREZ-
THOMAS GIALLONARDO, III,                          MONTES
JUSTIN GIALLONARDO, and
XYZ INSURANCE COMPANY

       Defendants.



SAMANTHA WILLIAMS,

       Plaintiffs,

v.                                                DOCKET NO. 21-CV-00017-DCJ-JPM

D’ARGENT FRANCHISING, LLC,
D’ARGENT CONSTRUCTION, LLC,                       JUDGE DAVID C. JOSEPH
D’ARGENT COMPANIES, LLC,
JUSTIN GIALLONARDO, and
XYZ INSURANCE COMPANY                             MAGISTRATE JOSEPH H. L. PEREZ-
                                                  MONTES
       Defendants.



                                         ORDER

       CONSIDERING the motion filed by Defendants to allow for the filing of Defendants’

Motion to Quash Subpoenas and for Protective Order under seal;




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         IT IS ORDERED that Defendant’s motion is GRANTED and the Defendants Motion to

Quash Subpoenas and for Protective Order shall be filed with the Court under seal.



                                                   ____________________________________
                                                   JUDGE

                                                    SIGNED on Thursday, March 11, 2021.
4842-3736-3678, v. 1




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